                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DMSION
                                 No. 7:17-CR-31-D


UNITED STATES OF AMERICA                     )
                                             )
                                             )
                  v.                         )              ORDER
                                             )
KINDRA DENISE ARNOLD,                        )
                                             )
                          Defendant.         )


       On July 23, 2020, Kindra Denise Am.old ("Am.old'') moved for compassionate release under

theFirstStepAct("FirstStepAct"),Pub. L. No.115-391, § 603(b), 132 Stat. 5194, 5238-41 (2018)

(co~ed as amended at 18 U.S.C. § 3582) and filed a memorandum and records in support [D.E.

58, 63]. On November 18, 2020, the United States responded in opposition [D.E. 65]. As explained

below, the court denies Arnold's motion.

                                                 I.

       On May 22, 2017, pursuant to a waiver of indictment and with a written plea agreement,

Arnold pleaded guilty to interference with commerce by robbery and aiding and abetting (count one)

and brandishing a firearm in furtherance of a crime ofviolence and aiding and abetting (count two).

See [D.E. 13, 14]. On November 29, 2017, the court held a sentencing hearing and adopted the facts

set forth in the Presentence Investigation Report ("PSR"). See [D.E. 42, 44, 45, 47]; Fed. R. Crim.

P. 32(i)(3)(A}-{B). The court calculated Arnold's base offense level to be 19, her criminal history

category to be I, and her advisory guideline range to be 30 to 37 months' imprisonment on count one

and 84 months' consecutive imprisonment on count two. See [D.E. 45] 1; [D.E. 47] 5. After

granting the government's motion for downward departure and thoroughly considering all relevant



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factors under 18 U.S.C. § 3553(a), the court sentenced Am.old to 36 months' imprisonment on count

one and 38 month's consecutive imprisonment on count two, for a total of74 months' imprisonment.

See [D.E. 44] 2; [D.E. 47] 17-22. Am.old did not appeal.

       On October 25, 2019, Am.old moved under 28 U.S.C. § 2255 to vacate, set aside, or correct
                                                              (


her sentence [D.E. 48]. On December 19, 2019, Am.old filed a second motion to vacate under

section 2255 [D.E. 51 ]. On May 11, 2020, the government moved to dismiss Arnold's motion [D.E.

53] and filed a memorandum in support [D.E. 54]. On August 13, 2020, the court granted the

government's motion to dismiss and dismissed Arnold's section 2255 motions. See [D.E. 61].

       On December 21, 2018, the First Step Act went into effect. See First Step Act, 132 Stat. at

5249. Before the First Step Act, only the Director of the Bureau of Prisons ("BOP") could file a

motion for compassionate release. Under the First Step Act, a sentencing court may modify a

sentence of imprisonment either upon a motion of the Director of the BOP "or upon motion of the

defendant after the defendant has fully exhausted all adminii;trative rights to appeal a failure of the

[BOP] to bring a motion on the defendant's behalf or the lapse of 30 days from the receipt of such

arequestbythewardenofthedefendant'sfacility, whichever is earlier." 18 U.S.C. § 3582(c)(l)(A).

       After a defendant meets the exhaustion requirement, a defendant must (1) demonstrate

"extraordinary and compelling reasons" for a sentence reduction, or (2) be at least 70 years old, have

served at least 30 years in prison, and have the Director of the BOP determine that the defendant is

not a danger to the safety of another person or the community. Id. In deciding to reduce a sentence

undersection3582(c)(l)(A), acourtmustconsultthe sentencing factors in 18 U.S.C. § 3553(a) and

must ensure that a sentence reduction is "consistent with applicable policy statements" ofthe United

States Sentencing Commission (the "Commission"). Id.



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       The Commission policy statements include U.S.S.G. § lBl.13. Section lBl.13 essentially

parrots section 3582(c)(l)(A)'s requirements and adds that the defendant not be "a danger to the

safety of any other person or to the community." U.S.S.G. § lBl.13(2). Section 1Bl.13's

application notes provide examples of extraordinary and compelling reasons, including: (A) serious

medical conditions ofthe defendant, (B) advanced age ofthe defendant when coupled with a serious

deterioration in physical and mental health due to aging and having served at least 10 years or 75%

of his or her imprisonment term (whichever is less), (C) family circumstances, or (D) another

extraordinary and compelling reason. See U.S.S.G. § lBl.13 cmt. n.1. 1 Application note 2 states


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           Application note 1 to U.S.S.G. § lBl.13 states in full:

       1.      Extraordinary and Compelling Reasons.-Provided the defendant meets the
               requirements of subdivision (2), extraordinary and compelling reasons exist
               under any of the circumstances set forth below:

               (A) Medical Condition of the Defendant.-

                       (i) The defendant is suffering from a terminal illness (i.e., a serious and
                           advanced illness with an end oflife trajectory). A specific prognosis
                           of life expectancy (i.e., a probability of death within a specific time
                           period) is not required. Examples include metastatic solid-tumor
                           cancer, amyotrophic lateral sclerosis (ALS), end-stage organ
                           disease, and advanced dementia.

                       (ii) The defendant is-

                            (I) suffering from a serious physical or medical condition,

                            (II) suffering from a serious functional or cognitive impairment,
                                 or

                            (Ill) experiencing deteriorating physical or mental health because
                                  of the aging process,

                            that substantially diminishes the ability of the defendant to
                            provide self-care within the environment of a correctional facility
                            and from which he or she is not expected to recover.

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that "an extraordinary and compelling reason need not have been unforeseen at the time of

 sentencingtowarrantareductioninthetermofimprisonment." U.S.S.G. § lBl.13 cmt. n.2. Thus,

the fact "that an extraordinary and compelling reason reasonably could have been known or

anticipated by the sentencing court does not preclude consideration for a reduction under this policy

 statement." Id. Application note 3 states, "[p]ursuant to 28 U.S.C. § 994(t), rehabilitation of the

defendant is not, by itself, an extraordinary and compelling reason for purposes of this policy

 statement." U.S.S.G. § lBl.13 cmt. n.3.

        The Commission has lacked a quorum since Congress enacted the First Step Act and has not

updated U.S.S.G. § lBl .13 to account for the First Step Act. Accordingly, section lB 1.13 does not

provide a policy where an jnmate files a motion for a sentence reduction under 18 U.S.C. §

 3582(c)(l)(A). See,   ~      United States v. McCoy, 981 F.3d 271, 280-84 (4th Cir. 2020).

Nevertheless, section lBl.13 provides informative policy when assessing an inmate's motion, but


                (B) Age of the Defendant-The defendant (i) is at least 65 years old; (ii)
                     is experiencing a serious deterioration in physical or mental health
                     because ofthe aging process; and (iii) has served at least 10 years or 75
                     percent of his or her term of imprisonment, whichever is less.

                (C) Family Circumstances.-

                    (i) The death or incapacitation ofthe caregiver ofthe defendant's minor
                        child or minor children.

                    (ii) The incapacitation of the defendant's spouse or registered partner
                        when the defendant would be the only available caregiver for the
                        spouse or registered partner.

                (D) Other Reasons.-A.s determined by the Director of the Bureau of
                     Prisons, there exists in the defendant's case an extraordinary and
                     compelling reason other than, or in combination with, the reasons
                     described in subdivisions (A) through (C).

U.S.S.G. § lBl.13 cmt. n.1.

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a court independently determines whether "extraordinary and compelling reasons" warrant a sentence

reduction under 18 U.S.C. § 3582(c)(l)(A)(i). See id. at 284. In doing so, the court consults not

only U.S.S.G. '§ lBl.13, but also the text of 18 U.S.C. § 3582(c)(l)(A) and the section 3553(a)

factors. See,~ id. at 280-84; United States v. Jones, 980 F.3d 1098, 1101--03 (6th Cir. 2020);

United States v. ~ 980 F.3d 1178, 1180-81 (7th Cir. 2020); United States v. Ruffin, 978 F.3d

1000, 1007--08 (6th Cir. 2020); United States v. Brooker, 976 F.3d 228, 237-38 (2d Cir. 2020);

United States v. Clark, No. 1:09cr336-1, 2020 WL 1874140, at *2 (M.D.N.C. Apr. 15, 2020)

(unpublished).

       As for Arnold's request for compassionate release, Am.old has exhausted het administrative

requirements. On June 10, 2020, Am.old submitted a request for compassionate release to the BOP,

which the BOP denied on June 30, 2020. See [D.E. 63] 3; [D.E. 63-6]. Moreover, the government

has not invoked section 3582's exhaustion requirement. See United States v. Alam, 960 F.3d 831,

833-34 (6th Cir. 2020).2 Accordingly, the court addresses Arnold's claim on the merits.

       Am.old seeks compassionate release pursuant to section 3582(c)(l)(A). In support of her

request, Am.old cites the COVID-19 pandemic and her health conditions, including hypertension,

obesity, sleep apnea, major depressive disorder, a blood clot in her liver, unspecified pain, ovarian

dysfunction, carpal tunnel syndrome, hyperthyroidism, and a lacrimal system disorder, among other

ailments. See [D.E. 58] 2; [D.E. 63] 2, 5-6; [D.E. 63-4]. Am.old also cites her rehabilitation efforts,

her release plan, and that she served over 78% of her sentence. See [D.E. 58]; [D.E. 63] 1-2, 7-8;

[D.E. 63-1]; [D.E. 63-2]; [D.E. 63-5].


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          The Fourth Circuit has not addressed whether section 3582's exhaustion requirement is a
jurisdictional or claims-processing requirement. The court assumes without deciding that the
requirement is a claims-processing rule, and that the government must ''properly invoke" the rule
for this court to enforce it. See AlAm, 960 F.3d at 833-34.

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       As for the medical condition ofthe defendant policy statement, the policy statement requires

that the defendant is "suffering from a serious physical or medical condition ... from which he or

she is not expected to recover." U.S.S.G. § lBl.13 cmt. n.l(A)(ii). While Am.old states that she

suffers from hypertension, obesity, sleep apnea, major depressive disorder, a blood clot in her liver,

unspecified pain, ovarian dysfunction, carpal tunnel syndrome, hyperthyroidism, and a lacrimal

system disorder, among other ailments, she has not demonstrated that she is not going to recover

from these conditions or that they cannot be treated while Am.old serves her sentence. Accordingly,

reducing Arnold's sentence is not consistent with application note l(A). See 18 U.S.C. §

3582(c)(1 )(A).

       As for the "other reasons" policy statement, the court assumes without deciding that the

COVID-19 pandemic, Arnold's health conditions, rehabilitation efforts, and release plan are

extraordinary and compelling reasons under section 3582(c)(l)(A). Cf. United States v. Raia, 954

F.3d 594, 597 (3d Cir. 2020) ("[T]he mere existence of COVID-19 in society and the possibility that

it may spread to a particular prison alone cannot independently justify compassionate release,

especially considering BOP's statutory role, and its extensive and professional efforts to curtail the

virus's spread."). Even so, the section 3553(a) factors counsel against reducing Arnold's sentence.

See United States v. Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020); Clark, 2020 WL 1874140,

at *3-8.

       Am.old is 48 years old and engaged in very serious criminal behavior over a period of seven

and one-half months in 2015 and 2016. See PSR ,r,r 9-27. Am.old participated in seven armed

robberies as a getaway driver. See id. Nonetheless, Am.old has no prior criminal history, cooperated

with authorities, and has taken some positive steps while incarcerated. See id. at ,r,r 27, 33; [D.E.

58]; [D.E. 63] 7. The court also has considered Arnold's potential exposure to COVID-19, her

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health conditions, her rehabilitation efforts, and her release plan. Cf. Pe.,wer v. United States, 562

U.S. 476, 480-81 (2011). Having considered the entire record, the steps that the BOP has taken to

address COVID-19 and treat Arnold, the section 3553(a) factors, Arnold's arguments, the

government's persuasive response, and the need to punish Arnold for her criminal behavior, to

incapacitate Arnold, to promote respect for the law, to deter others, and to protect society, the court

declines to grant Arnold's motion for compassionate release. See, e.g., Chavez-Meza v. United

States, 138 S. Ct. 1959, 1966--68 (2018); RY:f;t'm, 978 F.3d at 1008--09; Chambliss, 948 F.3d at

693-94; United States v. Hill, No. 4:13-CR-28-BR, 2020 WL 205515, at *2 (E.D.N.C. Jan. 13,

2020) (unpublished).

       As for Arnold's request for home confinement, Arnold seeks relief under the CARES Act.

See [D.E. 58, 63]. The CARES Act does not provide this court with the authority to grant home

confinement. See United States v. Brummett, No. 20-5626, 2020 WL 5525871, at *2 (6th Cir. Aug.

19, 2020) (unpublished) ("[T]he authority to grant home confinement remains solely with the

Attorney General and the BOP."); United States v. McCoy, No. 3:19-CR-35-KDB-DCK., 2020 WL

5535020, at *1 (W.D.N.C. Sept. 15, 2020) (unpublished); United States v. Gray, No.

4:12-CR-54-FL-l, 2020 WL 1943476, at *3 (E.D.N.C. Apr. 22, 2020) (unpublished). As such, the

court dismisses Arnold's request for home confinement.

                                                  II.

       In sum, the court DENIES Arnold's motion for compassionate release [D.E. 58], and
                                   I
DISMISSES Arnold's request for home confinement.

       SO ORDERED. This tSday of January 2021.


                                                            JSC.DEVERID
                                                            United States District Judge

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